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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Justina Milagros Pimentel                                                                   Case No.   19-11086
                                                                                   Debtor(s)            Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 8, 2019                                                    /s/ Justina Milagros Pimentel
                                                                        Justina Milagros Pimentel
                                                                        Signature of Debtor




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                           CARLOS DIEP
                           622 WEST 137TH STREET, BASEMEN
                           NEW YORK, NY 10031


                           CHASE
                           PO BOX 182613
                           COLUMBUS, OH 43218


                           CITIBANK
                           399 PARK AVENUE
                           NEW YORK, NY 10022


                           CON EDISON
                           4 IRVING PLACE
                           NEW YORK, NY 10003


                           DRESS BARN
                           CAPITAL ONE
                           POB 71106
                           CHARLOTTE, NC 28272


                           INTERNAL REVENUE SERVICES
                           PO BOX 7346
                           PHILADELPHIA, PA 19101


                           JP MORGAN CHASE
                           C/O FEIN SUCH KAHN & SHEPHARD
                           7 CENTURY DRIVE, STE. 201
                           PARSIPPANY, NJ 07054


                           NYC DEPARTMENT OF FINANCE
                           BANKRUPTCY AND AUDIT UNIT
                           345 ADAM STREET, 10TH FLOOR
                           BROOKLYN, NY 11201


                           NYC WATER BOARD
                           BANKRUPTCY UNIT
                           59-17 JUNCTION BLVD
                           CORONA, NY 11368


                           NYS DEPT. OF TAX AND FINANCE
                           BANKRUPTCY DIVISION
                           PO BOX 5300
                           ALBANY, NY 12205
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                       OATH
                       66 JOHN STREET
                       NEW YORK, NY 10038


                       PORTFOLIO RECOVERY
                       POB 12903
                       NORFOLK, VA 23541


                       PORTFOLIO RECOVERY
                       POB 12914
                       NORFOLK, VA 23541
